THE ATTORNEY GENERAL OF THE STATE OF NEW YORK
BUFFALO REGIONAL OFFICE

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In the Matter of the Investigation by
Eric T. Schneiderman, Attorney Generat of the AOD # 11-021
State of New York of Linda Strumpf

 

ASSURANCE OF DISCONTINUANCE
PURSUANT TO EXECUTIVE LAW
SECTION 63(15}

Pursuant to the provisions of Executive Law §63(12} and General Business Law
(GBL) Article 22-A, Eric T. Schneiderman, Attorney General of the State of New York ("OAG")
caused an inquiry to be made into a business called Serves You Right ("SYR"), a process
serving company. SYR served process for plaintiffs represented by Linda Strumpf, Attorney at
Law ("Strumpf"). As @ result of the inquiry into SYR, the OAG caused an inquiry to be made into
the matters served by SYR on behalf of Strumpf's clients that culminated in the entry of a default
judgment by the courts of the state of New York. Based upon this inquiry, the OAG makes the
following findings:

FINGINGS OF THE ATTORNEY GENERAL. .

1. Strumpf, with her New York office located at 2 West Road, South Salem,
New York 10590, is a lawyer wha, among cther things, represents creditors and debt buyers
before the courts of New York State,

2. Serves You Right, Inc. ("SYR") was a domestic for-profit corporation
located at 30 South Ocean Avenue, Suite #302, Freeport, New York 11520-3550,

3. SYR was in the business of serving lagal process in New York State and
marketed its services to law firms that commence a high volume of debt collection actions.

4. On behalf of Strumpfs clients, SYR process servers served summonses

and complaints or notices of petition or orders to show cause and petitions (referred to
collectively as “complaint” or “process').

5, Strumpf usually sent the complaints in batches to SYR for it to serve upon
the defendants.

6. Generally, SYR process servers served process by one of three methods.

7. Process servers delivered the complaint within New York State to the
defendant personally, See CPLR § 308(1). This method is referred to herein as “actual
service.”

8. Process servers delivered the complaint "within the state to a person of
suitable age and discretion at the actual place of business, dwelling place or usual place of
abode of the person to be served” and mailed the complaint by first class mail to the person's
last known residence or actual place of abode. See CPLR § 308(2). This method of service is
referred fo herein as "substitute service.”

3. Where the service could not be made with due diligence by actual service,
or substitute service, SYR affixed the complaint “to the door of either the actual place of
business, dwelling place or usual place of abode within the state of the person to be served"
and mailed the complaint by first class mail to the person's last known residence or actual placa
of abode, See CPLR § 308(3), This method of service is referred to herein as "nail-and-mail
service.” While CPLR § 308(3) does not define the term “due diligence," typically courts have
required three prior atlempts at service made on separate days, at various times during the day,
before a plaintiff may resort to nail-and-mail service.

10. SYR maintained a database on which it recorded, among other things, ()
the date it received complaints to be served, (ii) the date complaints were filed with the court, (iii)
the date and time of all service attempts and actual service, and (iv) the methad of service used,
The OAG, with the Internal Audit Unit of the Unified Court System, conducted an investigation of

SYR, including a review of its dalabase and made the following findings.
11. From January 2007 through September 2009, SYR claimed to have
served process on more than 35,000 occasions and prepared affidavits of service for each one.

12. Qn more than 800 occasions, SYR process servers swore te affidavits
that indicated that they had made service attempts at multipte addresses at precisely the same
time. This is physically impossible.

13. On arepeated and persistent basis, SYR servers swore to affidavits in
which they claimed to have made service atternpts that were physically impossible given the time
between service attempts and the distances involved. For example, on July 5, 2008, aSYR
process server claimed to have served, or attempted to serve, 34 individuals between 9:15 a.m,
and 9:59 p.m, Accarding to Google maps, the server would have needed to travel 3,253 miles
on that day to have completed those service attempts. '

14, On more than 80 occasions, SYR process servers swore to affidavits in
which they claimed to have made service or service attempts prior to the summons and
complaint being filed in court. This is physically impossible.

15. On at least one occasion, an SYR process server claimed te have made
personal service upon an individual who had died more than three weeks before she was
allegedly served.

16. Thus, the OAG determined that, when it prepared affidavits of service in
nail and mail cases, SYR process servers persistently and repeatedly falsified service attempts.
The OAG sued SYR and it was shut down by court order filed on August 19, 2010.

17. From January 1, 2007 through September 30, 2009, Strumpf used SYR to
Serve papers on approximately 4,020 occasions,

18. Of those occasions, SYR utilized substituted or nail and mail service to
serve legal process on approximately 2,562 of occasions.

19, In a majority of the law suits referred to in paragraph 18 above, the
consumer defaulted and Strumpf, on behalf of her clients, sought and obtained default
judgments pursuant to CPLR § 3215. Because the actions were for sums certain, the default
applications were made to, and routinely granted by, the appropriate county or court clerk.

20, On a repeated and persistent basis, in support of her motions for default
judgments, Strumpf submitted affidavits of service prepared by SYR in which the process server
falsified service attempts. The OAG does not make the finding that Strumpf was aware that
SYR had falsified affidavits of service. As such, this Assurance of Discontinuance does not
constitute a finding by the CAG of any wrongdoing or liability on the part of Strumpf of any wrong
_doing, of an admission by Strumpf of any wrong doing or liability.

21. Nevertheless, Strumpf obtained default judgments against consumers
who were not properly served pursuant to CPLR § 308, and submitted affidavits of service that
falsified service attempts.

iT NOW APPEARING THAT Strumpf desires to settle and resolve the
investigation without admitting or denying the OAG's findings, the OAG and Strumpf hereby
enter into this Assurance of Discontinuance pursuant to Executive Law §63(15).

AGREEMENT

22, IT IS AGREED AND UNDERSTOOD that, within 30 days of execution of
the Assurance of Discontinuance ("Assurance"), Strumpf, or any firm which has been
substituted as counsel (referred to collectively as “Strumpf’), will designate a partner, member,
sharehoider, associate, employee or agent who shall serve as "administrator" and who will be
responsible for carrying out all of the activities required by this Assurance and will provide the
name of the “administrator” to the OAG, provided that Strumpf will nolify the OAG within five
business days where a firm is substituted as counsel,

23, IT 1S FURTHER AGREED AND UNDERSTOOD that for purposes of this

Assurance, the following definitions shall apply:
a. The term “action” shall refer to actions and preceedings.

b. The term “complaint” shall refer to a summons and complaint, or notice of
petition or order to show cause and petition.

c. The term "plaintiff" shall refer to plaintiffs on whose behalf a default
judgment was éntered in an action filed on or after January 1, 2006, and
that judgment was based on a complaint served by SYR, pursuant te
CPLR § 308(4).

d. The term “defendant” shail refer to defendants and respondents.

e. Exhibit A shall mean (i) the notice letter and affidavit and stipulation and
(fi) the insert recommending that defendants who are Spanish speakers
seek a translation of the notice letter and affidavit and stipulation, and
notifying defendants of organizations that may be available to provide
them with assistance including, for example, the Unified Court System
Help Centers, the Civil Court Help Centers and organizations that are
funded by the Legal Services Corporation and the IOLA Fund of the State
of New York.

24, ITIS FURTHER AGREED AND UNDERSTOOD that Strumpf is
reasonably relying upon the list provided by the OAG from the Unified Court System of those
actions in which SYR represented to Strumpf that it served a complaint on a plaintiff,

25. ITIS FURTHER AGREED AND UNDERSTOOD that, within 120 days of
execution of this. Assurance, Strumpf will identify all actions involving plaintiffs as identified in
Paragraph 23(c) above, axciuding actions in which:

a. The defendant appeared personally or by an attorney;

b. The defendant answered the complaint;

c. The defendant paid part or all of the judgment, but not including
defendants from whom such payment(s) was taken, or made, from the
funds of an account in any banking institution within sixty (60) days after a
restraint was placed upon said account and such defendant had not made
@ payment on the judgment previous to such restraint: provided that the
OAG may request the basis on which Strumpf, or the plaintiff in the
underlying action, determined that a payment made by a defendant within
60 days after a restraint was placed on a bank account did not, in fact,

come from funds in the restrained account:

d. The defendant has made payments under an income execution for a total
of 12 consecutive or non-consecutive months:
é, The defendant was served by the New York State Secretary of State:

f. The defendant has a pending or closed bankruptcy proceeding unless
Strumpf is aware that the closed bankruptcy proceeding was dismissed by
the bankruptcy court:

g. The defendant entered into a written stipulation to settle an action, but nat
including defendants wha entered into such stipulation within sixty (60)
days after a restraint was placed upon the funds of an accourt in any
banking institution, provided this provision shall not extend to defendants
who originally entered into such written stipulation prior to said restraint
being placed upon the account;

h. The defendant is deceased:

i, The default judgment has been previously vacated:

j. The defendant has received or obtained a satisfaction of
judgment.

26. ITIS FURTHER AGREED AND UNDERSTOOD that, within 120 days of
execution service of this Assurance, Strumpf will notify the OAG of the name and address of
each client, or former client, for whom she obtained default judgments in actions identified
pursuant to paragraph 25 above who will not permit Strurpf to bind it to the process set forth in
this Assurance, which notification shall include the name and index number of each action to
which the client was a party.

27. IT 1S FURTHER AGREED AND UNDERSTOOD that, with the exception
of actions for which a plaintiff has not agreed to be bound by the provisions of this Assurance as
Set forth in paragraph 26 above, within 150 days of the execution of this Assurance, Strumpf will
send by first class mail the notice and affidavit and stipulation (referred to collectively as the
“mailing”), annexed hereto as Exhibit A, to each defendant in actions identified pursuant to
paragraph 25 above to the defendant's iast known address in an envelope that will have as the
retum address of Strumpf, but not the name of the firm on the envelope, which mailing shall not

constitute a communication by Strumpf for the purposes of the 15 U.S.C. § 1692 et $eq.,
commonly referred to as the Fair Debt Collection Practices Act.

28. IT 1S FURTHER AGREED AND UNDERSTOOD that, where a mailing is
returned to Strumpf by the United States Postal Service (“USPS”) as undeliverable within one
year of mailing, Strumpf will, within 30 days of such return, take additional steps permitted by law
to identify the address of the defendant, including a review of the database maintained by
Accurint, or another similar database mutually agreed to by the parties, which review shail satisfy
this paragraph, and resend the mailing required by paragraph 27 above, and the
accomplishment of this review will fulfill the notification requirements of the Assurance and
Strumpf will have no further obligations regarding mail returned as undeliverable.

29. IT IS FURTHER AGREED AND UNDERSTOOD that, within 180 days of
execution of this Assurance, Strumpf will furnish the CAG with an attorney affirmation or affidavit
attesting to her compliance with paragraphs 25 ~ 28 above, including a list of defendants to
whom the mailing was sent and when, which affirmation or affidavit shall be sufficiently detailed
and shall include as attachments documents reasonably necessary for the OAG to determine
that Strumpf is complying with the Assurance,

30. IT 1S FURTHER AGREED AND UNDERSTOOD that, if within one year of
execution of this Assurance, a defendant for whom the mailing was returned by the USPS as

undeliverable, seeks to have a judgment vacated, Strumpf will send to the defendant the mailing

described in paragraph 27 above: provided that Strumpf shall not be required to re-send a
mailing pursuant to this paragraph if it is returned as undeliverable.

31, IT 5 FURTHER AGREED AND UNDERSTOOD that, when a defendant
returns the sworn affidavit and stipulation to Strumpf, postmarked within 80 days of the date of
mailing, Strumpf will, within 30 days of receipt, deliver by first class mail fo the appropriate clerk
for filing the stipulation to vacate the default judgment, pursuant to CPLR § 5015(b), on notice to

the defendant by first class mail, and Strumpf will arrange for an immediate cessation of any
collection activities on such judgment.

32. IT [IS FURTHER AGREED AND UNDERSTOOD that the affidavit and
stipulation shall provide that the failure of a defendant who actually received the mailing to return
the sworn affidavit and stipulation postmarked within 60 days of the aforesaid mailing shall
constitute a waiver, relinquishment and abandonment of any right to seek to have a judgment
vacated pursuant to this Assurance; if a defendant fails to return the sworn affidavit postmarked
within 60 days after the aforesaid mailing, such failure shall constitute a waiver, relinquishment
and abandonment by such defendant of any right to have the judgment vacated pursuant to this
Assurance.

33. IT |S FURTHER AGREED AND UNDERSTOOD that defendants who did
not receive a mailing solely because an action was filed before January 1, 2006 may request in
writing the mailing and Strumpf shall send it within ten business days of such request by first
class mail, provided that the email or written request must be sent or postmarked within one year
of the date of execution of this Assurance, and Strumpf, in response to an oral request for the
mailing will, within five business days of such request made within the same one year period,
send to the defendant by first class mail a form on which ta request receipt of the mailing.

34. ITIS FURTHER AGREED AND UNDERSTOOD that the affidavit and

stipulation shall provide that where a judgment is vacated, Strumpf and/or the plaintiff will not be

required to return amounts previously paid, provided, tendered, collected or otherwise obtained |
from the defendant unless and until Strumpf and/or the plaintiff fail to re-serve the defendant
within 120 days of the date the judgment !s vacated, or, plaintiff is ordered to do so following a
final disposition of the action.

35. IT iS FURTHER AGREED AND UNDERSTOOD that the affidavit and
stipulation shall provide that, where a judgment is vacated, (i) the defendant agrees that the

plaintiff or Strumpf may re-serve the complaint, within 120 days of the date the judgment is
vacated, by certified mail, return receipt requested, and first class mail, to the address identified
by the defendant on the affidavit and stipulation, or in any other manner permitted by law; (ii) that
the defendant will agree to claim the certified mail; and (iii} that the defendant will file a change
of address form with the United States Postal Service in the event that the defendant changes
residence afler submitting the affidavit and stipulation, and keep such change of address order
current.

36. IT IS FURTHER AGREED AND UNDERSTOOD that, where an action is
re-served pursuant to paragraph 35 above, the defendant will have 45 days from the date of
mailing within which to answer, and the parties thereto may take any actions or make any
motions permitted by the CPLR, including the application for a default judgment if the defendant
fails to answer.

37. ITIS FURTHER AGREED AND UNDERSTOOD that a stipulation
vacating the default judgment shall not be considered as a dismissal of the action, or a
stipulation of settlement or voluntary discontinuance, and the existing index number and request
for judicial intervention or similar docket number(s) which have been purchased, or otherwise
exist in the original action, shall be considered valid.

38. ITS FURTHER AGREED AND UNDERSTOOD that the affidavit and

stipulation shall provide that any defendant who seeks to vacate 3 judgment under the terms of

this Assurance musi agree (i) to waive, relinquish and abandon any and all claims against the
plaintiff and Strumpf for any and all actions, claims, suits, controversies and demands either in
law or equity arising out of the activities and conduct of SYR; (ii) that the action will be deemed
to have been brought on the date on which it was originally filed; and (iii) in no event shall the
failure of the plaintiff in the underlying action to re-serve process pursuant to the provisions
herein within 120 days of the filing of the action serve as a basis to dismiss the action pursuant

to CPLR § 306-b.
39. IT IS FURTHER AGREED AND UNDERSTOOD that the affidavit and
stipulation shall provide that failure to re-serve process within 120 days of the date the judgment
is vacated will result in forfeiture of any right to do.

40. ITIS FURTHER AGREED AND UNDERSTOOD that the affidavit and
stipulation shall provide that, when a judgment is vacated, and the plaintiff in the underlying
action does not re-serve process in a timely manner, Strumpf and plaintiff shall, within 150 days
of the date the judgment was vacated, return to the defendant the monies paid on the judgmert,
provided that Strumpf shall only be responsible for the monies she received as fees paid to her
for services rendered, and plaintiff shall bear responsibility for monies received as collection an
the judgment, and neither plaintiff nor Strumpf shall beaz responsibility to return fees paid to a
sheriff or marshal to enforce the judgment pursuant to CPLR §§ 8011 and 8012.

41. IT 1S FURTHER AGREED AND UNDERSTOOD that all pending
applications for default judgments where SYR served process pursuant to CPLR § 308(4) shall
be subject to the terms and conditions of this Assurance, and Strumpf and/or plaintiffs will
withdraw such applications, send the mailing required by paragraph 27 above, and otherwise
proceed in accerdance with all of the other relevant provisions of this Assurance,

42. IT IS FURTHER AGREED AND UNDERSTOCD that nothing in this

Assurance shall be construed to prevent the consideration of pending applications for default

 

judgments where SYR served process by means other than CPLR § 308(4), nor shall this
Assurance be construed as avidence that Strumpf or plaintiffs abandoned such applications or
taited to prosecute them.
43. If IS FURTHER AGREED AND UNDERSTOOD that, for two years after
execution of this Assurance, or until this Assurance is fully complied with, whichever is sharter,
Strumpf will provide to the OAG on a quarterly basis the following data’

a. Defendants for whom @ judgment is vacated and the amount of the

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judgment,
b. Defendants whom she re-serves and the date and method of service: and

c. Defendants who receive a return of funds paid on the default judgment
and the amount thereto.

44. ITIS FURTHER AGREED AND UNDERSTOOD that, where the reporting
-obligation described in paragraph 43 above terminates before this Assurance is fully complied

with, Strumof agrees to provide to the OAG, at its reasonable request, such information
necessary for it to determine compliance with the Assurance which is not subject to any legal or
ethical prohibition against disclosure.

45. ITS FURTHER AGREED AND UNDERSTOOD that Strumpf will provide
any natice, report and/or any other communication required pursuant to this Assurance to the
Office of the Attorney General, Attn: James M. Morrissey, Assistant Attorney General, 350 Main
Street, Suite 300A, Buffalo, New York 14202.

46. ITIS FURTHER AGREED AND UNDERSTOOD that Strumpf will make
earnest efforts to comply with the timelines herein but may expand any of the timelines by written
agreement with the OAG.

47. (T1§ FURTHER AGREED AND UNDERSTOCD ihat, before the COAG
seeks relief to cure an alleged violation of this Assurance, it will provide Strumpf with ten days
written notice of the same, tncluding a description of the alleged violation,.to give Strumpf an_—
opportunity to cure the alleged violation.

48. iT IS FURTHER AGREED AND UNDERSTOOD that this Assurance, and
the Exhibit hereto, (ij) may not be used as evidence in any judicial or administrative hearing,
proceeding or action except for a proceeding by the OAG to enforce its terms; (ii) does not
create duties or obligations (o third persons not a party to this litigation, except as explicitly set

forth herein; and (ili) creates no liability or responsibility fram Strumpf or the plaintiffs to any third
party based on compliance with any term, condition or provision of this Assurance, other than as
explicitly set forth herein; it being the expressed intent of the OAG and Strumpf that compliance
with this Assurance shall not constitute a violation of 15 U.S.C § 1692 et seq., commonly
referred to as the Fair Debt Collection Practices Act, 18 U.S.C. § 1961 ef seg, commonly
referred to as the Racketeer Influenced and Corrupt Organization Act, or N.Y. General Business
Law, Articles 22-A and 29-H.

49. ITS FURTHER AGREED AND UNDERSTOOD that the OAG has agreed
to the terms of this Assurance based on, among other things, the representations made to CAG
by the signatories hereto and their counsel and the OAG's own factual investigation as set forth
in Findings (1)-{21) above. To the extent that any material representations are later found to be
inaccurate or misleading, this Assurance is voidable by the OAG in its sole discretion,

50. IT 1S FURTHER AGREED AND UNDERSTOOCCG that no representation,
inducement, promise, understanding, condition, or warranty not set forth in this Assurance has
been made to or relied upon by Strumpf.

51, IT IS FURTHER AGREED AND UNDERSTOOD that Strumpf shall not
take any action or make any statement denying, directly or indirectly, the propriety of this
Assurance or expressing the view that this Assurance is without factual basis. Nothing in this
paragraph affects her {i) testimonial obligations or (ii) right to take tegal or factual positions in
» defense of itigation or other legal proceedings to which OAG is not a party. This Assurance is
not intended for use by any third party in any other proceeding and is nat intended, and should
not be construed, as an admission of liability by Strumpf.

52. iT 1S FURTHER AGREED AND UNDERSTOOD that this Assurance may
not be amended except by an instrument in writing signed on behalf of all the parties to this
Assurance,

53. IT IS FURTHER AGREED AND UNDERSTOOD that this Assurance shall

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be binding on and inure to the benefit of the parties to this Assurance and their respective
successors and assigns, provided that no party, olher than OAG, may assign, delegate, or
otherwise transfer any of their rights or obligations under this Assurance without the prior written
consent af OAG.

34. IT IS FURTHER AGREED AND UNDERSTOOD that, in the event that
any one or more of the provisions contained in this Assurance shall, for any feason, be held to
be invalid, illegal, or unenforceable in any respect, in the sole discretion of the OAG such
invalidity, illegality, or unenforceability shall not affect any other provision of this Assurance.

59. IT1S FURTHER AGREED AND UNDERSTOOD that, to the extent not
already provided under this Assurance, Strumpf shall, upon request by OAG, provide all
documentation and information necessary for OAG to verify compliance with this Assurance.

56, IT IS FURTHER AGREED AND UNDERSTOOD that acceptance of this
Assurance by OAG shall not be deemed approval by OAG of any of the practices or procedures
referenced herein, and Strumpf shall make no representation to the contrary.

57. IT |S FURTHER AGREED AND UNDERSTOOD that all correspondence
to the Attorney General shall be delivered ar mailed to the following address:

Office of the Attorney General of the State of New York
Attn: James M. Morrissey, Assistant Attorney General
350 Main Street, Suite 300A
.. ... . Buffalo NewYork14202 000 ek Bo Se
58. ITIS FURTHER AGREED AND UNDERSTOOD thal nothing contained in
this Assurance shal! be construed to limit the rights of a person or an entity who is not a party to
this Assurance with respect to any of the matters contained herein. Notwithstanding the
foregaing, in no event shail this Assurance be construed to limit the rights of Strumpf in
connection with any action commenced by any party other than the CAG,

og. IT 1S FURTHER AGREED AND UNDERSTOOD by Strumpf that,
pursuant to Executive Law § 63(16), in the event of any violation of this Assurance, the Attorney
General may commence an action or proceeding, under General Business Law Article 22-A and
Executive Law § 63(12).

60. ITIS FURTHER AGREED AND UNDERSTOOD by Strumpf that, should
the OAG prove in a court of competent jurisdiction that a breach of this Assurance by Strumpf
has occurred, Strumpf shal! pay to OAG the cost, if any, of such determination and of enforcing
this Assurance, including without limitation legal fees, expenses, and court costs.

61. iT IS FURTHER AGREED AND UNDERSTOOD that the OAG finds the
relief and agreements contained in this Assurance appropriate and in the public interest. The
OAG is willing to accept this Assurance pursuant to New York Executive Law Section 63(15), in
lieu of commencing a statutory proceeding. This Assurance shall be governed by the laws of the
State of New York without regard to any conflict of laws principles.

iN WITNESS WHEREOF, the undersigned subscribe their names.

Dated: Buffalo, New York
April 24, 2011

nll th

LINDA STRUMPF, ESQ.

 

By:

ERIC T. SCHNEIDERMAN
Attorney General of the State of New York

By: Swoal<[Ve>

JAMES M. MORRISSEY, Of Coursel
